8/3/2020     Case: 4:20-cv-01017-JAR Doc. #:Case.net:
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                       2022-CC01177 - HANNAH CHOBANIAN V SFC GLOBAL SUPPY CHAIN
                                               INC (E-CASE)


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  07/16/2020           Corporation Served
                       Document ID - 20-SMOS-1468; Served To - SFC GLOBAL SUPPY CHAIN INC; Server - ; Served Date
                       - 15-JUL-20; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description -
                       Served; Service Text - CT CORP VIA JANE FLOYD
                       Affidavit Filed
                       Affidavit of Special Process Server.
                           Filed By: MATTHEW HALL ARMSTRONG
                           On Behalf Of: HANNAH CHOBANIAN

  07/06/2020           Jury Trial Scheduled
                           Scheduled For: 12/14/2020; 9:00 AM ; REX M BURLISON; City of St. Louis
                       Summ Issd- Circ Pers Serv O/S
                       Document ID: 20-SMOS-1468, for SFC GLOBAL SUPPY CHAIN INC.

  06/26/2020           Proposed Order Filed
                       Proposed Order for Appointment of Special Process Server.
                          Filed By: MATTHEW HALL ARMSTRONG
                          On Behalf Of: HANNAH CHOBANIAN

  06/17/2020           Request Filed
                       REQUEST FOR SPECIAL PROCESS SERVER
                         Filed By: MATTHEW HALL ARMSTRONG
                       Filing Info Sheet eFiling
                           Filed By: MATTHEW HALL ARMSTRONG
                       Note to Clerk eFiling
                           Filed By: MATTHEW HALL ARMSTRONG
                       Pet Filed in Circuit Ct
                       Petition and Jury Demand; Entry of Appearance
                          Filed By: MATTHEW HALL ARMSTRONG
                          On Behalf Of: HANNAH CHOBANIAN
                       Judge Assigned
 Case.net Version 5.14.0.17                                           Return to Top of Page                                       Released 11/25/2019


                                                                                                                                 EXHIBIT A

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                           1/1
                                                                                                      Electronically Filed - City of St. Louis - June 17, 2020 - 05:29 PM
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                                                                                2022-CC01177

                 IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                              STATE OF MISSOURI

HANNAH CHOBANIAN, individually                )
and on behalf of all other similarly situated )
Missouri citizens,                            )
                                              )
       Plaintiff,                             )       No. ____________________
                                              )
v.                                            )       Div. 1
                                              )
SFC GLOBAL SUPPLY CHAIN, INC.,                )
                                              )       JURY TRIAL DEMAND
       Defendant.                             )


Serve: SFC GLOBAL SUPPLY CHAIN, INC.
       CT Corporation System Inc., RAGT
       1010 Dale St. N.
       St. Paul MN 55517-5603


                               PETITION AND JURY DEMAND

       Plaintiff, Hannah Chobanian, individually and on behalf of all similarly situated Missouri

citizens, alleges the following facts and claims upon personal knowledge, investigation of counsel,

and information and belief.

                                       CASE SUMMARY

       1.      This case arises out of Defendant SFC Global Supply Chain, Inc.’s (“Defendant”)

deceptive, unfair, and false merchandising practices regarding its “Red Baron” brand Brick Oven

Cheese Trio Pizza; Classic Crust Four Cheese Pizza; and Thin & Crispy Five Cheese Pizza (the

“Pizzas”).

       2.      On the label of the Pizzas, Defendant prominently represents that the Pizzas have a

“PRESERVATIVE FREE CRUST” and contain “NO ARTIFICAL FLAVORS” which leads

Missouri citizens to believe that the Pizzas do not contain any preservatives in the crust.



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       3.      The Pizzas, however, contain Sodium Stearoyl Lactylate, Enzymes and Mono- and

Diglycerides (the “Preservatives”). Sodium Stearoyl Lactylate and Enzymes work in combination

as an anti-staling agent in breads to preserve the softness of the crust during the product’s shelf

life. Mono- and Diglycerides works as an anti-staling agent in baked goods by slowing the

retrogradation of starch during the product’s shelf life. (Collectively, the “Preservatives”).

       4.      The Pizzas contain the Preservatives in direct contravention to their label’s express

representation that the pizzas have “PRESERVATIVE FREE CRUST.”

       5.      The Pizzas also contain Modified Food Starch and Hydrolyzed Soy and Corn

Protein, all of which are commercially-manufactured and highly processed, and which contain

monosodium glutamate (or “MSG”) as a byproduct of the protein processing. The only purpose

for including these synthetic food additives in the Pizzas is to create an MSG-like flavor in the

pizza sauce (the “Synthetic Flavor”).

       6.      The Pizzas contain the Synthetic Flavor in direct contravention to their label’s

express representation that the pizzas have “NO ARTIFICAL FLAVORS.”

       7.      Plaintiff and reasonable consumers reasonably believe, define, and assume that

Pizzas labeled “PRESERVATIVE FREE CRUST” and “NO ARTIFICAL FLAVORS” do not

contain any preservatives in the crust or synthetic flavors.

       8.      Because the Pizzas contain the Preservatives and the Synthetic Flavor, the

representation that the Pizzas have “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

FLAVORS” is unfair, false, deceptive, and misleading.

       9.      In addition, by claiming the Pizzas contain have “PRESERVATIVE FREE

CRUST” and “NO ARTIFICIAL FLAVORS,” the label of the Pizzas creates the false impression

and has the tendency and capacity to mislead consumers (see 15 C.S.R. 60-9.020) into believing



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that the Pizzas do not contain preservatives in the crust or synthetic flavors, when in fact the Pizzas

do contain the Preservatives and the Synthetic Flavor.          Moreover, the overall format and

appearance of the label of the Pizzas has the tendency and capacity to mislead consumers (15

C.S.R. 60-9.030) because it creates the false impression that the Pizzas do not contain preservatives

or synthetic flavors.

       10.     Plaintiff brings this case to recover damages for Defendant’s false, deceptive, and

misleading marketing and advertising in violation of the Missouri Merchandising Practices Act

(“MMPA”) and Missouri common law.

                                               PARTIES

       11.     Plaintiff, Hannah Chobanian, is a Missouri citizen residing in the City of St. Louis,

Missouri. On at least one occasion during the Class Period (as defined below), including in March

or April 2020, Plaintiff purchased a Red Baron Brick Oven Cheese-Trio Pizza at Target in St.

Louis for personal, family, or household purposes. The purchase price of the Pizza was $3.99.

Plaintiff’s claim is typical of all class members in this regard. Moreover, the label of each of the

Pizzas is substantially similar such that Plaintiff has standing to bring claims on behalf of Pizzas

she has not actually purchased.

       12.     Defendant SFC Global Supply Chain, Inc., is a Minnesota corporation with its

principal place of business in Marshall, Minnesota.

                                  JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction over this action because the amount in

controversy exceeds the minimum jurisdictional limits of the Court.

       14.     Plaintiff believes and alleges that the total value of Plaintiff’s individual claim is,

at most, equal to the refund of the purchase price paid for the Pizzas.



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        15.     Because the value of Plaintiff’s claims is typical of all class members with respect

to the value of the claim, the total damages of Plaintiff and Class Members, inclusive of costs and

attorneys’ fees is far less than the five million dollars ($5,000,000) minimum threshold to create

federal court jurisdiction.

        16.     There is therefore no diversity or CAFA jurisdiction for this case.

        17.     Defendant cannot plausibly allege that it has sufficient sales of the Pizzas in

Missouri during the Class Period to establish an amount in controversy that exceeds CAFA’s

jurisdictional threshold.

        18.     This Court has personal jurisdiction over Defendant as Defendant has more than

minimum contacts with the State of Missouri and has purposefully availed itself of the privilege

of conducting business in this state. In addition, as explained below, Defendant committed

affirmative tortious acts within the State of Missouri that gives rise to civil liability, including

distributing the fraudulent Sandwiches for sale throughout the State of Missouri.

        19.     Venue is proper in this forum pursuant to Missouri Code § 508.010 because Plaintiff

is a resident of the City of St. Louis and her injuries occurred in the City of St. Louis.

        20.     Plaintiff and Class Members do not seek to recover punitive damages or statutory

penalties in this case.

                                       ALLEGATIONS OF FACT

        21.     Defendant manufactures, sells, and distributes the Pizzas.

        22.     The Pizzas label states: “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

FLAVORS.”

        23.     Knowing that consumers like Plaintiff are increasingly interested in purchasing

products that do not contain potentially harmful preservatives or synthetic ingredients, Defendant



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sought to take advantage of this growing market by labeling its Pizzas as having “PRESERVATIVE

FREE CRUST” and “NO ARTIFICIAL FLAVORS.”

         24.   By affixing such a label to the packaging of the Pizzas, Defendant can entice

consumers like Plaintiff to pay a premium for the Pizzas or pay more for them than they otherwise

would have had the truth be known.

         25.   The label of the Pizzas is deceptive, false, and misleading in that Defendant

prominently represents that the Pizzas having “PRESERVATIVE FREE CRUST” and “NO

ARTIFICIAL FLAVORS,” when they are not.

         26.   The Pizzas are not in fact free of preservatives in the crust or artificial flavors

because they contain the Preservatives and the Synthetic Flavor.

         27.   Consistent with FDA guidance, Plaintiff and reasonable consumers reasonably

believe and assume that Pizzas labeled “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

FLAVORS” do not contain any added preservatives or synthetic ingredients.

         28.   Neither Plaintiff nor any reasonable consumer would expect to find the

Preservatives or Synthetic Flavor in Pizzas labeled “PRESERVATIVE FREE CRUST” and “NO

ARTIFICIAL FLAVORS.”

         29.   Neither Plaintiff nor any reasonable consumer would know nor should know that

the Pizzas contained the Preservatives and/or the Synthetic Flavor when reviewing the Pizzas’

label.

         30.   Because of Defendant’s deceitful label, Defendant could charge, and Plaintiff and

Class Members paid, a premium for the Pizzas.




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       31.       The Pizzas, moreover, were worth less than they were represented to be, and

Plaintiff and Class Members paid extra for them due to the “PRESERVATIVE FREE CRUST” and

“NO ARTIFICIAL FLAVORS” label.

       32.       Defendant’s misrepresentations violate the MMPA’s prohibition of the act, use, or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact about the sale or advertisement of any merchandise in trade or commerce. § 407.020, RSMo.

                                     CLASS ALLEGATIONS

       33.       Pursuant to Missouri Rule of Civil Procedure 52.08 and § 407.025.2 of the MMPA,

Plaintiff brings this action on her own behalf and on behalf of a proposed class of (“Class

Members” of the “Class”):

                        All current Missouri citizens who purchased Red Baron
                        brand Brick Oven Cheese Trio Pizza; Classic Crust Four
                        Cheese Pizza; and/or Thin & Crispy Five Cheese Pizza for
                        personal, family or household purposes in the five years
                        preceding the filing of this Petition (the “Class Period”).

       34.       Excluded from the Class are: (a) federal, state, and/or local governments, including,

but not limited to, their departments, agencies, divisions, bureaus, boards, sections, groups,

counsels, and/or subdivisions; (b) any entity in which Defendant has a controlling interest, to

include, but not limited to, their legal representative, heirs, and successors; (c) all persons who are

presently in bankruptcy proceedings or who obtained a bankruptcy discharge in the last three years;

and (d) any judicial officer in the lawsuit and/or persons within the third degree of consanguinity

to such judge.

       35.       Upon information and belief, the Class consists of hundreds of purchasers.

Accordingly, it would be impracticable to join all Class Members before the Court.


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       36.      There are numerous and substantial questions of law or fact common to all the

members of the Class and which predominate over any individual issues. Included within the

common question of law or fact are:

             a. Whether the “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

                FLAVORS” claims on the Pizzas’ label are false, misleading, and deceptive;

             b. Whether Defendant violated the MMPA by selling the Pizzas with false,

                misleading, and deceptive representations;

             c. Whether Defendant’s acts constitute deceptive and fraudulent business acts and

                practices or deceptive, untrue, and misleading advertising;

             d. Whether the label of the Pizzas creates false impressions and has the tendency and

                capacity to mislead consumers;

             e. Whether Defendant breach an express warranty;

             f. Whether Defendant was unjustly enriched; and

             g. The proper measure of damages sustained by Plaintiff and Class Members.

       37.      The claims of the Plaintiff are typical of the claims of Class Members, in that they

share the above-referenced facts and legal claims or questions with Class Members, there is a

sufficient relationship between the damage to Plaintiff sand Defendant’s conduct affecting Class

Members, and Plaintiff has no interests adverse to the interests other Class Members.

       38.      Plaintiff will fairly and adequately protect the interests of Class Members and have

retained counsel experienced and competent in the prosecution of complex class actions including

complex questions that arise in consumer protection litigation.

       39.      A class action is superior to other methods for the fair and efficient adjudication of

this controversy, since individual joinder of all Class Members is impracticable and no other group



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method of adjudication of all claims asserted herein is more efficient and manageable for at least

the following reasons:

               a. The claim presented in this case predominates over any questions of law or fact,

                  if any exists at all, affecting any individual member of the Class;

               b. Absent a Class, the Class Members will continue to suffer damage and

                  Defendants’ unlawful conduct will continue without remedy while Defendant

                  profits from and enjoy its ill-gotten gains;

               c. Given the size of individual Class Members’ claims, few, if any, Class Members

                  could afford to or would seek legal redress individually for the wrongs

                  Defendant committed against them, and absent Class Members have no

                  substantial interest in individually controlling the prosecution of individual

                  actions;

               d. When the liability of Defendant has been adjudicated, claims of all Class

                  Members can be administered efficiently and/or determined uniformly by the

                  Court; and

               e. This action presents no difficulty that would impede its management by the

                  court as a class action, which is the best available means by which Plaintiff and

                  Class Members can seek redress for the harm caused to them by Defendant.

       40.     Because Plaintiff seeks relief for the entire Class, the prosecution of separate

actions by individual members of the Class would create a risk of inconsistent or varying

adjudications with respect to individual member of the Class, which would establish incompatible

standards of conduct for Defendant.




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        41.     Further, bringing individual claims would overburden the Courts and be an

inefficient method of resolving the dispute, which is the center of this litigation. Adjudications

with respect to individual members of the Class would, as a practical matter, be dispositive of the

interest of other members of the Class who are not parties to the adjudication and may impair or

impede their ability to protect their interests. Therefore, class treatment is a superior method for

adjudication of the issues in this case.

                                      CLAIMS FOR RELIEF
                                              COUNT I
                     Violation of Missouri’s Merchandising Practices Act

        42.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if fully

set forth herein.

        43.     Missouri’s Merchandising Practices Act (the “MMPA”) prohibits the act, use, or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact about the sale or advertisement of any merchandise in trade or commerce § 407.020, RSMo.

        44.     Defendant’s conduct constitutes the act, use or employment of deception, fraud,

false pretenses, false promises, misrepresentation, unfair practices and/or the concealment,

suppression, or omission of any material facts about the sale or advertisement of any merchandise

in trade or commerce because Defendant misrepresents that the Pizzas have “PRESERVATIVE

FREE CRUST” and “NO ARTIFICIAL FLAVORS” when it in fact they do contain the

Preservatives and the Synthetic Flavor.

        45.     In addition, by claiming the Pizzas have “PRESERVATIVE FREE CRUST” and

“NO ARTIFICIAL FLAVORS,” the label of the Pizzas creates the false impression and has the

tendency and capacity to mislead consumers (see 15 CSR 60-9.020) into believing that the Pizzas

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contain no preservatives in the crust or synthetic flavors, when in fact the Pizzas do contain the

Preservatives and the Synthetic Flavors. Moreover, the overall format and appearance of the label

of the Pizzas has the tendency and capacity to mislead consumers (15 C.S.R. 60-9.030) because it

creates the false impression that the Pizzas contain no preservatives or artificial flavors.

       46.     The Pizzas were therefore worth less than the Pizzas as represented, and Plaintiff

and Class Members paid extra or a premium for them.

       47.     Neither Plaintiff nor any reasonable consumer would expect the Preservatives and

Synthetic Flavor to be in Pizzas labeled “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

FLAVORS.”

       48.     Neither Plaintiff nor any reasonable consumer would know nor should know that

Sodium Stearoyl Lactylate and Enzymes combine to act as a preservative or that Mono- and

Diglycerides act as a preservative.

       49.      Neither Plaintiff nor any reasonable consumer would know nor should know that

Modified Food Starch and Hydrolyzed Soy and Corn Protein are disguised sources of MSG – the

artificial flavor and flavor enhancer.

       50.     Plaintiff and Class Members purchased the Pizzas for personal, family, or

household purposes and thereby suffered an ascertainable loss because of Defendant’s unlawful

conduct as alleged herein, including the difference between the actual value of the Pizzas and the

value of the Pizzas if they had been as represented.

       51.     Defendant’s unlawful practices have caused similar injury to Plaintiff and

numerous other persons. § 407.025.2.

                                              Count II

                        In the Alternative, Breach of Express Warranty

       52.      Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if

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fully set forth herein.

        53.      Defendant made the affirmation of fact and the promise to Plaintiff and the Class

Members that the Pizzas are “PRESERVATIVE FREE CRUST” and “NO ARTIFICIAL

FLAVORS,” guaranteeing to Plaintiff and the Class Members that the Pizzas were in

conformance with the representation.

        54.      This affirmation of fact and promise became part of the basis of the bargain in

which Plaintiff and Class Members purchased Defendant’s Pizzas, and Plaintiff and Class

Members relied on the affirmation when making their purchasing decisions.

        55.      Defendant breached its express warranty that the Pizzas have “PRESERVATIVE

FREE CRUST” and “NO ARTIFICIAL FLAVORS” by providing Plaintiff and Class Members

with a product that contained the Preservatives and the Synthetic Flavor

        56.      As a result of Defendant’s breach of warranty, Plaintiff and the Class Members

have been deprived of the benefit of their bargain in that they bought Pizzas that were not what

they were represented to be, and they have spent money on Pizzas that had less value than was

reflected in the premium purchase price they paid for the Pizzas.

        57.      Because Defendant made the affirmation of fact and promise directly on its own

label and packaging, privity is not required to bring this claim.

        58.      Because Defendant has actual knowledge that its Pizzas contain the Preservatives

and Synthetic Flavor in contravention of its “PRESERVATIVE FREE CRUST” and “NO

ARTIFICIAL FLAVORS” representations, pre-suit notice of this claim is not required.

        59.      Plaintiff and Class Members suffered economic damages as a proximate result of

Defendant's unlawful conduct as alleged herein, including the difference between the actual value

of the Pizzas and the value of the Pizzas if they had been as represented.



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                                              Count III

                             In the Alternative, Unjust Enrichment

        60.      Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if

fully set forth herein.

        61.      By purchasing the Pizzas, Plaintiff and the Class Members conferred a benefit on

Defendant in the form of the purchase price of the Pizzas.

        62.      Defendant appreciated the benefit because, were consumers not to purchase the

Pizzas, Defendant would have no sales and make no money.

        63.      Defendant's acceptance and retention of the benefit is inequitable and unjust and

violates the fundamental principles of justice, equity, and good conscience because the benefit

was obtained by Defendant's fraudulent and misleading representations about the Pizzas.

        64.      Equity cannot in good conscience permit Defendant to be economically enriched

for such actions at Plaintiff and Class Members’ expense and in violation of Missouri law, and

therefore restitution and/or disgorgement of such economic enrichment is required.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all similarly situated persons, prays

the Court:


        a.      Grant certification of this case as a class action;

        b.      Appoint Plaintiff as Class Representative and Plaintiff’s counsel as Class Counsel;

        c.      Award compensatory damages to Plaintiff and the proposed Class, or, alternatively,

                require Defendant to disgorge or pay restitution of its ill-gotten gains;

        d.      Award pre- and post-judgment interest;


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       e.     Award reasonable and necessary attorneys’ fees and costs; and

       g.     For all such other and further relief as may be just and proper.


Dated: June 17, 2020                 Respectfully submitted,
                             By:     /s/ Matthew H. Armstrong
                                     Matthew H. Armstrong (MoBar 42803)
                                     ARMSTRONG LAW FIRM LLC
                                     8816 Manchester Rd., No. 109
                                     St. Louis MO 63144
                                     Tel: 314-258-0212
                                     Email: matt@mattarmstronglaw.com

                                     Stuart L. Cochran (MoBar 68659)
                                     STECKLER GRESHAM COCHRAN PLLC
                                     12720 Hillcrest Rd., Ste. 1045
                                     Dallas TX 75230
                                     Tel: 972-387-4040
                                     Email: stuart@sgc.law

                                     Attorneys for Plaintiff and the Putative Class




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                                                                               2022-CC01177

                 IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                              STATE OF MISSOURI

HANNAH CHOBANIAN, individually                )
and on behalf of all other similarly situated )
Missouri citizens,                            )
                                              )
       Plaintiff,                             )      No. ____________________
                                              )
v.                                            )      Div. 1
                                              )
SFC GLOBAL SUPPLY CHAIN, INC.,                )
                                              )
       Defendant.                             )


                                  ENTRY OF APPEARANCE

       NOW COMES Matthew H. Armstrong of Armstrong Law Firm LLC and hereby enters his

appearance as attorneys of record for the Plaintiff Hannah Chobanian in the above entitled

proceedings.

       Dated: June 17, 2020           Ramona West, individually, and on behalf of a class of
                                      similarly situated Missouri citizens, Plaintiff

                              By:     /s/ Matthew H. Armstrong
                                      Matthew H. Armstrong (MoBar 42803)
                                      Armstrong Law Firm LLC
                                      8816 Manchester Rd. No. 109
                                      St. Louis MO 63144
                                      Tel: 314-258-0212
                                      Email: matt@mattarmstronglaw.com

                                      Attorneys for Plaintiff and the Putative Class


                                CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing document was served upon all parties
of record in this cause enrolled in the Missouri E-filing System by electronic service on June 17,
2020.
                                       /s/ Matthew H. Armstrong
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                IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                             STATE OF MISSOURI

HAHHAH CHOBANIAN, individually and )
on behalf of all other similarly situated )
Missouri citizens,                        )
                                          )
       Plaintiff,                         )     No. 2022-CC01177
                                          )
v.                                        )     Div. 1
                                          )
SFC GLOBAL SUPPLY CHAIN INC.,             )
                                          )
       Defendant.                         )


                                        ORDER

      Before the Court is Plaintiff’s Request for Appointment of a Special Process Server.

Plaintiff’s Request is GRANTED.

      SO ORDERED:



_____________________             _________________________________________
      Date                              Circuit Court Judge
           Case: 4:20-cv-01017-JAR Doc. #: 1-1 Filed: 08/03/20 Page: 18 of 22 PageID #: 32

              IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                          Case Number: 2022-CC01177
 REX M BURLISON
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 HANNAH CHOBANIAN                                            MATTHEW HALL ARMSTRONG
                                                             8816 MANCHESTER RD
                                                             SUITE 109
                                                       vs.   SAINT LOUIS, MO 63144
 Defendant/Respondent:                                       Court Address:                                    (Date File Stamp)
 SFC GLOBAL SUPPY CHAIN INC                                  CIVIL COURTS BUILDING
 Nature of Suit:                                             10 N TUCKER BLVD
 CC Other Tort                                               SAINT LOUIS, MO 63101
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:    SFC GLOBAL SUPPY CHAIN INC
                               Alias:
  CT CORPORATION SYSTEMS INC
  1010 DALE ST N
  ST PAUL, MN 55517


     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                                          July 6, 2020
     CITY OF ST LOUIS          ___________________________________                _______________________________________________
                                                    Date                                               Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                          ______________________________________________________
                   Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-1468           1 of 2 (2022-CC01177)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                    506.500, 506.510 RSMo
           Case: 4:20-cv-01017-JAR Doc. #: 1-1 Filed: 08/03/20 Page: 19 of 22 PageID #: 33
                           See the following page for directions to officer making return on service of summons.




                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-1468         2 of 2 (2022-CC01177)           Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                       506.500, 506.510 RSMo
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